            Case 3:17-cv-01327-CSH Document 99 Filed 09/02/21 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT

NCL (BAHAMAS) LTD., d/b/a                              *               Civil Action No.
NORWEGIAN CRUISE LINE,                                 *               3:17-cv-1327 (CSH)
                                                       *
                Plaintiff,                             *
                                                       *
v.                                                     *
                                                       *
O.W. BUNKER USA, INC. and KELLY                        *
BEAUDIN STAPLETON, Liquidating                         *
Trustee of the OWB USA Liquidating Trust               *
                                                       *
                Defendants                             *

*       *       *        *     *       *       *       *

               UNOPPOSED MOTION TO CONTINUE ORAL ARGUMENT

        Pursuant to this Court’s order, Doc. 98, NCL's Renewed Motion to Enjoin O.W. USA from

Proceeding with Arbitration in London, Doc. 94, is set for oral argument by Zoom conference at

10:30 a.m. on Wednesday, September 8, 2021. While all parties recognize the rather long tenure of

this case and desire to proceed expeditiously, NCL respectfully requests a short continuation of the

oral argument setting because Hurricane Ida has significantly impacted NCL’s counsel’s ability to

prepare and attend the current September 8 setting.

        The primary counsel representing NCL throughout the long tenure of this case are based in

New Orleans, Louisiana. Hurricane Ida recently passed through the region with substantial impacts

on the area. There currently is no power in the large majority of New Orleans and much of southern

Louisiana. This includes no power at NCL counsel’s office or residences. As a consequence of the

hurricane, counsel for NCL has been forced to evacuate New Orleans. Counsel’s office has been

inaccessible, which has prevented counsel’s access to their file materials. There currently is no known

timeframe for when power and other infrastructure will be restored, but indications are that it could




254047475v.1
           Case 3:17-cv-01327-CSH Document 99 Filed 09/02/21 Page 2 of 3



be a week or more before a realistic return to New Orleans will be available. These impacts have

greatly hindered NCL’s counsel’s ability to prepare for the oral argument.

        Consequently, NCL respectfully requests a brief continuation of several weeks to allow time

for power in New Orleans to be restored and counsel to access their office and file materials required

for meaningful participation in the requested hearing. Counsel for O.W. USA does not oppose this

requested extension. In fact, Hurricane Ida continued its path through the northeast and has caused

substantial flooding in New York where O.W. USA’s lead counsel is located.

        Counsel for NCL and O.W. USA have conferred about dates on which all are available. Lead

counsel for O.W. USA is expecting a child with a due date in the second half of September, which

makes a one or two week continuation problematic. However, all counsel suggest that they can be

available for the oral hearing to be reset on any day during October 18-21. If that time period does

not agree with the Court’s schedule, counsel will endeavor to make themselves available on another

date available for the Court’s calendar.

        Counsel for NCL certifies that they have conferred with counsel for O.W. USA, and that O.W.

USA agrees with the requested continuation of the oral argument current set for September 8 for the

reasons stated above. Again, all parties desire to move this case towards completion, but the

unforeseen impacts of Hurricane Ida have substantially impacted counsel’s ability to meaningfully

prepare for and participate in the current oral argument setting.




                                                   2

254047475v.1
           Case 3:17-cv-01327-CSH Document 99 Filed 09/02/21 Page 3 of 3



        WHEREFORE, NCL respectfully requests that this unopposed motion to briefly continue

the oral argument setting be granted.

                                                        Respectfully submitted,


                                                        s/ ct19876
                                                        Stephen P. Brown
                                                        Connecticut Bar No.: ct19876
                                                        WILSON ELSER MOSKOWITZ EDELMAN &
                                                        DICKER LLP
                                                        101 Washington Boulevard
                                                        Stamford, CT 06901
                                                        Telephone:    203-388-9100
                                                        Facsimile:    203-388-9101
                                                        Stephen.brown@wilsonelser.com

                                                        H. Jake Rodriguez (LA Bar No. 27867)
                                                        Michael A. Harowski (LA Bar No. 30543)
                                                        WILSON ELSER MOSKOWITZ EDELMAN &
                                                        DICKER LLP
                                                        650 Poydras Street, Suite 2200
                                                        New Orleans, Louisiana 70130
                                                        Telephone: 504-702-1710
                                                        Fax: 504-702-1715
                                                        Jake.rodriguez@wilsonelser.com
                                                        Michael.harowski@wilsonselser.com
                                                        Attorneys for Plaintiff, NCL (Bahamas) Ltd.


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 2, 2021, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

being served this day on all counsel of record via transmission of Notices of Electronic Filing

generated by CM/ECF or in some other authorized manner for those counsel or parties who are not

authorized to receive electronically Notices of Electronic Filing.



                                         s/Stephen P. Brown (ct19876)
                                        Stephen P. Brown (ct19876)

                                                   3

254047475v.1
